Case 9:22-mj-08332-BER Document 142 Entered on FLSD Docket 11/10/2022 Page 1 of 3
             USCA11 Case: 22-12932 Date Filed: 11/09/2022 Page: 1 of 1


                            UNITED STATES COURT OF APPEALS
                               FOR THE ELEVENTH CIRCUIT
                               ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                             56 Forsyth Street, N.W.
                                             Atlanta, Georgia 30303

  David J. Smith                                                                      For rules and forms visit
  Clerk of Court                                                                      www.ca11.uscourts.gov


                                          November 09, 2022

   Clerk - Southern District of Florida                                                JE
   U.S. District Court
   400 N MIAMI AVE
   MIAMI, FL 33128-1810                                                       Nov 9, 2022
   Appeal Number: 22-12932-JJ
   Case Style: USA v. Michael Barth                                                        MIAMI

   District Court Docket No: 9:22-mj-08332-BER-1

   The enclosed copy of this Court's Order of Dismissal is issued as the mandate of this court. See
   11th Cir. R. 41-4. Counsel and pro se parties are advised that pursuant to 11th Cir. R. 27-2, "a
   motion to reconsider, vacate, or modify an order must be filed within 21 days of the entry of
   such order. No additional time shall be allowed for mailing."

   Any pending motions are now rendered moot in light of the attached order.

   Sincerely,

   DAVID J. SMITH, Clerk of Court

   Reply to: Tiffany A. Tucker, JJ/lt
   Phone #: (404)335-6193

   Enclosure(s)

                                                                 DIS-4 Multi-purpose dismissal letter
Case 9:22-mj-08332-BER Document 142 Entered on FLSD Docket 11/10/2022 Page 2 of 3
             USCA11 Case: 22-12932 Date Filed: 11/09/2022 Page: 1 of 2


                         IN THE UNITED STATES COURT OF APPEALS

                                   FOR THE ELEVENTH CIRCUIT
                                     ________________________

                                          No. 22-12932-JJ
                                     ________________________

  UNITED STATES OF AMERICA,

                                                                         Plaintiff-Appellee,

                                                  versus

  MICHAEL S. BARTH,

                                                                         Interested Party-Appellant,

  SEALED SEARCH WARRANT,

                                                                         Defendant.
                                     ________________________

                             Appeal from the United States District Court
                                 for the Southern District of Florida
                                   ________________________

  Before: JILL PRYOR, NEWSOM, and GRANT, Circuit Judges.

  BY THE COURT:

         This appeal is DISMISSED, sua sponte, for lack of jurisdiction. Michael Barth’s notice of

  appeal designated an appeal from “the Final Orders and Memorandums of the District Court that

  denied the access to all the unsealed/unredacted court records in the above referenced matter” and

  listed three August 2022 orders as examples of such orders. However, these appealed-from orders

  are not final or otherwise immediately appealable because they were all issued by a magistrate

  judge and the district court had not rendered them final at the time Mr. Barth filed the instant notice

  of appeal. See Donovan v. Sarasota Concrete Co., 693 F.2d 1061, 1066-67 (11th Cir. 1982);

  United States v. Cline, 566 F.2d 1220, 1221 (5th Cir. 1978); see also Perez-Priego v. Alachua
Case 9:22-mj-08332-BER Document 142 Entered on FLSD Docket 11/10/2022 Page 3 of 3
             USCA11 Case: 22-12932 Date Filed: 11/09/2022 Page: 2 of 2


  Cnty. Clerk of Court, 148 F.3d 1272, 1273 (11th Cir. 1998). The district court had not been given

  an opportunity to effectively review the magistrate judge’s orders and we cannot hear appeals

  directly from federal magistrate judges. See United States v. Schultz, 565 F.3d 1353, 1359 (11th

  Cir. 2009). Moreover, even if the district court were to subsequently render the magistrate judge’s

  orders final, it would not serve to cure this premature notice of appeal. See Robinson v. Tanner,

  798 F.2d 1378, 1385 (11th Cir. 1986); Perez-Priego, 148 F.3d at 1273. Accordingly, we lack

  jurisdiction over this appeal.

         All pending motions are DENIED as moot. No motion for reconsideration may be filed

  unless it complies with the timing and other requirements of 11th Cir. R. 27-2 and all other

  applicable rules.




                                                  2
